               Case 12-73667-FJS                       Doc 10        Filed 10/18/12 Entered 10/18/12 17:10:23                  Desc Main
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B6 Summary (Official Form 6 - Summary) (12/07)


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                                                           United States Bankruptcy Court
                                                                   Eastern District of Virginia
 In re          Matthew Paul Ricciardi                                                                   Case No.       12-73667
                                                                                                    ,
                                                                                   Debtor
                                                                                                         Chapter                         7




                                                      SUMMARY OF SCHEDULES - AMENDED
    Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
    B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
    Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
    also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




             NAME OF SCHEDULE                         ATTACHED           NO. OF        ASSETS                LIABILITIES                  OTHER
                                                       (YES/NO)          SHEETS

A - Real Property                                         Yes             1                 167,400.00


B - Personal Property                                     Yes             5                  15,952.50


C - Property Claimed as Exempt                            Yes             3


D - Creditors Holding Secured Claims                      Yes             1                                        210,482.21


E - Creditors Holding Unsecured                           Yes             2                                          1,600.00
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                           Yes             10                                        52,580.00
    Nonpriority Claims

G - Executory Contracts and                               Yes             1
   Unexpired Leases

H - Codebtors                                             Yes             1


I - Current Income of Individual                          Yes             2                                                                       3,394.35
    Debtor(s)

J - Current Expenditures of Individual                    Yes             1                                                                       4,252.35
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                27


                                                                    Total Assets            183,352.50


                                                                                     Total Liabilities             264,662.21




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Form 6 - Statistical Summary (12/07)


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                                                           United States Bankruptcy Court
                                                                   Eastern District of Virginia
 In re           Matthew Paul Ricciardi                                                                             Case No.   12-73667
                                                                                                         ,
                                                                                       Debtor
                                                                                                                    Chapter                 7


              STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
         If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
         a case under chapter 7, 11 or 13, you must report all information requested below.

                  Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                  report any information here.

         This information is for statistical purposes only under 28 U.S.C. § 159.
         Summarize the following types of liabilities, as reported in the Schedules, and total them.


             Type of Liability                                                                  Amount

             Domestic Support Obligations (from Schedule E)                                                      0.00

             Taxes and Certain Other Debts Owed to Governmental Units
             (from Schedule E)
                                                                                                             1,600.00

             Claims for Death or Personal Injury While Debtor Was Intoxicated
             (from Schedule E) (whether disputed or undisputed)
                                                                                                                 0.00

             Student Loan Obligations (from Schedule F)                                                          0.00

             Domestic Support, Separation Agreement, and Divorce Decree
             Obligations Not Reported on Schedule E
                                                                                                                 0.00

             Obligations to Pension or Profit-Sharing, and Other Similar Obligations
             (from Schedule F)
                                                                                                                 0.00

                                                                            TOTAL                            1,600.00


             State the following:

             Average Income (from Schedule I, Line 16)                                                       3,394.35

             Average Expenses (from Schedule J, Line 18)                                                     4,252.35

             Current Monthly Income (from Form 22A Line 12; OR,
             Form 22B Line 11; OR, Form 22C Line 20 )                                                        4,570.75


             State the following:
             1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                 column
                                                                                                                                    43,082.21

             2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                 column
                                                                                                             1,600.00

             3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                 PRIORITY, IF ANY" column
                                                                                                                                          0.00

             4. Total from Schedule F                                                                                               52,580.00

             5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                           95,662.21




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B6B (Official Form 6B) (12/07)


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 In re         Matthew Paul Ricciardi                                                                            Case No.       12-73667
                                                                                                     ,
                                                                                    Debtor

                                       SCHEDULE B - PERSONAL PROPERTY - AMENDED
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

1.    Cash on hand                                        currency                                                          J                              5.00

2.    Checking, savings or other financial                checking/savings accounts                                         J                          593.00
      accounts, certificates of deposit, or
      shares in banks, savings and loan,
      thrift, building and loan, and
      homestead associations, or credit
      unions, brokerage houses, or
      cooperatives.

3.    Security deposits with public                   X
      utilities, telephone companies,
      landlords, and others.

4.    Household goods and furnishings,                    Chairs (14),Heaters (1),Freezer (1), Microwave, Beds              J                          594.00
      including audio, video, and                         (3), Tables (2), Silverware, Fans (5), Stove,
      computer equipment.                                 Chest/Drawers (3),Dishes, Pots & Pans, Washer &
                                                          Dryer, Sofas (5), Desks(2), Coffee Tables (3), Lamps
                                                          (7), End tables (3), Mirrors (5), AC, Vacuum,
                                                          Nightstands(2), Televisions (3), VCR, Radio,
                                                          Entertainment Center, ChinaCabinet, Computer &
                                                          Accessories

5.    Books, pictures and other art                       books, pictures, etc.                                             J                            75.00
      objects, antiques, stamp, coin,
      record, tape, compact disc, and
      other collections or collectibles.

6.    Wearing apparel.                                    clothing                                                          J                           500.00

7.    Furs and jewelry.                                   jewelry-wedding rings                                             J                           125.00

8.    Firearms and sports, photographic,                  Shotgun                                                           H                           400.00
      and other hobby equipment.
                                                          Rifle                                                             H                           250.00

                                                          Fishing rods and gear, speargun                                   J                          250.00




                                                                                                                            Sub-Total >            2,792.00
                                                                                                                (Total of this page)

  4    continuation sheets attached to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




 In re         Matthew Paul Ricciardi                                                                            Case No.       12-73667
                                                                                                     ,
                                                                                    Debtor

                                         SCHEDULE B - PERSONAL PROPERTY - AMENDED
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

9.    Interests in insurance policies.                X
      Name insurance company of each
      policy and itemize surrender or
      refund value of each.

10. Annuities. Itemize and name each                  X
    issuer.

11. Interests in an education IRA as                  X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                    Supervalu Star 401(k)                                             -                        2,763.00
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated                   Stock in Supervalue - 30 shares @ 2.35/share                      -                            70.50
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                X
    ventures. Itemize.

15. Government and corporate bonds                    X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                              X

17. Alimony, maintenance, support, and                    Child Support Owed to Debtor                                      -                            91.00
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor                 anticipated 2012 federal tax refund                               J                              0.50
    including tax refunds. Give particulars.
                                                          anticipated 2012 state tax refund                                 J                              0.50

                                                          Garnishment of payroll                                            H                        1,642.00

                                                          2011 federal tax refund                                           J                          866.00

                                                          2011 state tax refund                                             J                          318.00




                                                                                                                            Sub-Total >            5,751.50
                                                                                                                (Total of this page)

Sheet 1 of 4          continuation sheets attached
to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




 In re         Matthew Paul Ricciardi                                                                            Case No.       12-73667
                                                                                                     ,
                                                                                    Debtor

                                         SCHEDULE B - PERSONAL PROPERTY - AMENDED
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

19. Equitable or future interests, life               X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                      X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                 X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.

22. Patents, copyrights, and other                    X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                   X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations              X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                    2004 Chevy Avalanche1500                                          H                        7,400.00
    other vehicles and accessories.                       107000 miles
                                                          Poor condition - 2 major accidents

26. Boats, motors, and accessories.                   X

27. Aircraft and accessories.                         X

28. Office equipment, furnishings, and                X
    supplies.

29. Machinery, fixtures, equipment, and               X
    supplies used in business.

30. Inventory.                                        X



                                                                                                                            Sub-Total >            7,400.00
                                                                                                                (Total of this page)

Sheet 2 of 4          continuation sheets attached
to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




 In re         Matthew Paul Ricciardi                                                                            Case No.       12-73667
                                                                                                     ,
                                                                                    Debtor

                                         SCHEDULE B - PERSONAL PROPERTY - AMENDED
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

31. Animals.                                          X

32. Crops - growing or harvested. Give                X
    particulars.

33. Farming equipment and                             X
    implements.

34. Farm supplies, chemicals, and feed.               X

35. Other personal property of any kind                   wages                                                             -                              1.00
    not already listed. Itemize.
                                                          Any portion of the estate created pursuant to the                 -                              1.00
                                                          commencement of a bankruptcy case filed under
                                                          the United States Bankruptcy Code, including, but
                                                          not limited to 11 U.S.C. §301, 11 U.S.C. 302, 11
                                                          U.S.C. 303, 11 U.S.C.§541, as amended.

                                                          Any legal or equitable interest in real or personal               -                              1.00
                                                          property as of the commencement of his/her
                                                          bankruptcy the case.

                                                          Any interest in property that the trustee recovers or             -                              1.00
                                                          may recover under section 11 U.S.C. sections 329,
                                                          363, 543, 550, 553, or 723.

                                                          Any interest in property preserved for the benefit of             -                              1.00
                                                          or ordered transferred to the estate under section
                                                          510(c) or 551 of title 11 of the United States Code.

                                                          Any interest in property that would have been                     -                              1.00
                                                          property of the estate if such interest had been an
                                                          interest of the debtor on the date of the filing of the
                                                          petition, and that the debtor acquires or becomes
                                                          entitled to acquire within 180 days after such date:
                                                          by bequest, devise, or inheritance; as a result of a
                                                          property settlement agreement with the debtor's
                                                          spouse, or of an interlocutory or final divorce
                                                          decree; or as a beneficiary of a life insurance policy
                                                          or of a death benefit plan.

                                                          Any interest in property that the estate acquires                 -                              1.00
                                                          after the commencement of the case.




                                                                                                                            Sub-Total >                  7.00
                                                                                                                (Total of this page)

Sheet 3 of 4          continuation sheets attached
to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




 In re         Matthew Paul Ricciardi                                                                            Case No.        12-73667
                                                                                                     ,
                                                                                    Debtor

                                         SCHEDULE B - PERSONAL PROPERTY - AMENDED
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption
                                                          Any property, goods, accounts receivable, lottery                  -                             1.00
                                                          winnings, death benefits cash value life insurance
                                                          policy, employment or other bonuses, gifts,
                                                          bonuses, security deposits held by others, which
                                                          debtor had control over at the time of the filing of
                                                          his/her bankruptcy petition, but which debtor
                                                          overlooked or forgot, and any after-discovered or
                                                          after-acquired items.

                                                          Interest in garnishment funds, including, but not                  -                             1.00
                                                          limited to garnishment of wages, bank accounts,
                                                          checking or savings accounts, or any other
                                                          garnishment.




                                                                                                                            Sub-Total >                  2.00
                                                                                                                (Total of this page)
                                                                                                                                 Total >         15,952.50
Sheet 4 of 4          continuation sheets attached
to the Schedule of Personal Property                                                                                        (Report also on Summary of Schedules)
Software Copyright (c) 1996-2012 - CCH INCORPORATED - www.bestcase.com                                                                         Best Case Bankruptcy
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 B6C (Official Form 6C) (4/10)


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  In re         Matthew Paul Ricciardi                                                                                Case No.           12-73667
                                                                                                          ,
                                                                                       Debtor

                            SCHEDULE C - PROPERTY CLAIMED AS EXEMPT - AMENDED
 Debtor claims the exemptions to which debtor is entitled under:                                 Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                 $146,450. (Amount subject to adjustment on 4/1/13, and every three years thereafter
    11 U.S.C. §522(b)(2)                                                                                      with respect to cases commenced on or after the date of adjustment.)
    11 U.S.C. §522(b)(3)

                                                                               Specify Law Providing                         Value of                 Current Value of
                  Description of Property                                         Each Exemption                             Claimed                  Property Without
                                                                                                                            Exemption               Deducting Exemption
Cash on Hand
currency                                                                  Va. Code Ann. § 34-4                                            5.00                             5.00

Checking, Savings, or Other Financial Accounts, Certificates of Deposit
checking/savings accounts                         Va. Code Ann. § 34-4                                                                593.00                         1,186.00

Household Goods and Furnishings
Chairs (14),Heaters (1),Freezer (1), Microwave,                           Va. Code Ann. § 34-26(4a)                                   594.00                         1,188.00
Beds (3), Tables (2), Silverware, Fans (5), Stove,
Chest/Drawers (3),Dishes, Pots & Pans, Washer
& Dryer, Sofas (5), Desks(2), Coffee Tables (3),
Lamps (7), End tables (3), Mirrors (5), AC,
Vacuum, Nightstands(2), Televisions (3), VCR,
Radio, Entertainment Center, ChinaCabinet,
Computer & Accessories

Books, Pictures and Other Art Objects; Collectibles
books, pictures, etc.                               Va. Code Ann. § 34-4                                                                75.00                           150.00

Wearing Apparel
clothing                                                                  Va. Code Ann. § 34-26(4)                                    500.00                            500.00

Furs and Jewelry
jewelry-wedding rings                                                     Va. Code Ann. § 34-26(1a)                                   125.00                            250.00

Firearms and Sports, Photographic and Other Hobby Equipment
Shotgun                                         Va. Code Ann. § 34-26(4b)                                                             400.00                            400.00

Rifle                                                                     Va. Code Ann. § 34-4                                        250.00                            250.00

Fishing rods and gear, speargun                                           Va. Code Ann. § 34-4                                        250.00                            500.00

Interests in IRA, ERISA, Keogh, or Other Pension or Profit Sharing Plans
Supervalu Star 401(k)                               Va. Code Ann. § 34-34                                                           2,763.00                         2,763.00

Stock and Interests in Businesses
Stock in Supervalue - 30 shares @ 2.35/share                              Va. Code Ann. § 34-4                                          70.50                            70.50

Alimony, Maintenance, Support, and Property Settlements
Child Support Owed to Debtor                      Va. Code Ann. § 20-108.1(G)                                                           91.00                            91.00

Other Liquidated Debts Owing Debtor Including Tax Refund
anticipated 2012 federal tax refund              Va. Code Ann. § 34-4                                                                     1.00                             1.00

anticipated 2012 state tax refund                                         Va. Code Ann. § 34-4                                            1.00                             1.00

Garnishment of payroll                                                    Va. Code Ann. § 34-4                                      1,642.00                         1,642.00

2011 federal tax refund                                                   Va. Code Ann. § 34-4                                        866.00                            866.00



    2     continuation sheets attached to Schedule of Property Claimed as Exempt
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 B6C (Official Form 6C) (4/10) -- Cont.




  In re         Matthew Paul Ricciardi                                                                     Case No.      12-73667
                                                                                                       ,
                                                                                        Debtor

                            SCHEDULE C - PROPERTY CLAIMED AS EXEMPT - AMENDED
                                                                               (Continuation Sheet)

                                                                               Specify Law Providing           Value of             Current Value of
                  Description of Property                                         Each Exemption               Claimed              Property Without
                                                                                                              Exemption           Deducting Exemption

2011 state tax refund                                                     Va. Code Ann. § 34-4                         318.00                    318.00

Automobiles, Trucks, Trailers, and Other Vehicles
2004 Chevy Avalanche1500                                                  Va. Code Ann. § 34-26(8)                    6,000.00                7,400.00
107000 miles                                                              Va. Code Ann. § 34-4                        1,400.00
Poor condition - 2 major accidents

Other Personal Property of Any Kind Not Already Listed
wages                                             Va. Code Ann. § 34-4                                                    1.00                      1.00

Any portion of the estate created pursuant to                             Va. Code Ann. § 34-4                            1.00                      1.00
the commencement of a bankruptcy case filed
under the United States Bankruptcy Code,
including, but not limited to 11 U.S.C. §301, 11
U.S.C. 302, 11 U.S.C. 303, 11 U.S.C.§541, as
amended.

Any legal or equitable interest in real or                                Va. Code Ann. § 34-4                            1.00                      1.00
personal property as of the commencement of
his/her bankruptcy the case.

Any interest in property that the trustee                                 Va. Code Ann. § 34-4                            1.00                      1.00
recovers or may recover under section 11
U.S.C. sections 329, 363, 543, 550, 553, or 723.

Any interest in property preserved for the                                Va. Code Ann. § 34-4                            1.00                      1.00
benefit of or ordered transferred to the estate
under section 510(c) or 551 of title 11 of the
United States Code.

Any interest in property that would have been                             Va. Code Ann. § 34-4                            1.00                      1.00
property of the estate if such interest had been
an interest of the debtor on the date of the filing
of the petition, and that the debtor acquires or
becomes entitled to acquire within 180 days
after such date: by bequest, devise, or
inheritance; as a result of a property settlement
agreement with the debtor's spouse, or of an
interlocutory or final divorce decree; or as a
beneficiary of a life insurance policy or of a
death benefit plan.

Any interest in property that the estate acquires                         Va. Code Ann. § 34-4                            1.00                      1.00
after the commencement of the case.

Any property, goods, accounts receivable,                                 Va. Code Ann. § 34-4                            1.00                      1.00
lottery winnings, death benefits cash value life
insurance policy, employment or other
bonuses, gifts, bonuses, security deposits held
by others, which debtor had control over at the
time of the filing of his/her bankruptcy petition,
but which debtor overlooked or forgot, and any
after-discovered or after-acquired items.




 Sheet     1    of     2    continuation sheets attached to the Schedule of Property Claimed as Exempt
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 B6C (Official Form 6C) (4/10) -- Cont.




  In re         Matthew Paul Ricciardi                                                                     Case No.   12-73667
                                                                                                       ,
                                                                                        Debtor

                            SCHEDULE C - PROPERTY CLAIMED AS EXEMPT - AMENDED
                                                                               (Continuation Sheet)

                                                                               Specify Law Providing           Value of             Current Value of
                  Description of Property                                         Each Exemption               Claimed              Property Without
                                                                                                              Exemption           Deducting Exemption

Interest in garnishment funds, including, but                             Va. Code Ann. § 34-4                            1.00                      1.00
not limited to garnishment of wages, bank
accounts, checking or savings accounts, or any
other garnishment.




                                                                                                  Total:          15,953.50                  17,590.50
 Sheet     2    of     2    continuation sheets attached to the Schedule of Property Claimed as Exempt
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B6E (Official Form 6E) (4/10)


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 In re         Matthew Paul Ricciardi                                                                                             Case No.            12-73667
                                                                                                                     ,
                                                                                               Debtor

      SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS - AMENDED
          A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
    to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
    account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
    continuation sheet for each type of priority and label each with the type of priority.
          The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
    so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
    Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
    schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
    liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
    column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
    "Disputed." (You may need to place an "X" in more than one of these three columns.)
          Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
    "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
          Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
    listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
    also on the Statistical Summary of Certain Liabilities and Related Data.
          Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
    priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
    total also on the Statistical Summary of Certain Liabilities and Related Data.

         Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

    TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
         Domestic support obligations
        Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
    of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

         Extensions of credit in an involuntary case
        Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
    trustee or the order for relief. 11 U.S.C. § 507(a)(3).

         Wages, salaries, and commissions
        Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
    representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
    occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

         Contributions to employee benefit plans
       Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
    whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

         Certain farmers and fishermen
         Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

         Deposits by individuals
        Claims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
    delivered or provided. 11 U.S.C. § 507(a)(7).

         Taxes and certain other debts owed to governmental units
         Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

         Commitments to maintain the capital of an insured depository institution
       Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
    Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

         Claims for death or personal injury while debtor was intoxicated
       Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
    another substance. 11 U.S.C. § 507(a)(10).




    * Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                            1         continuation sheets attached
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  In re         Matthew Paul Ricciardi                                                                                   Case No.      12-73667
                                                                                                            ,
                                                                                             Debtor

       SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS - AMENDED
                                                                                 (Continuation Sheet)
                                                                                                                     Taxes and Certain Other Debts
                                                                                                                      Owed to Governmental Units
                                                                                                                                  TYPE OF PRIORITY
                                                        C   Husband, Wife, Joint, or Community                       C    U   D
            CREDITOR'S NAME,                            O                                                            O    N   I                      AMOUNT NOT
                                                        D                                                            N    L   S                      ENTITLED TO
          AND MAILING ADDRESS                           E   H         DATE CLAIM WAS INCURRED                        T    I   P      AMOUNT          PRIORITY, IF ANY
           INCLUDING ZIP CODE,                          B   W
                                                                    AND CONSIDERATION FOR CLAIM                      I    Q   U
                                                                                                                                     OF CLAIM
          AND ACCOUNT NUMBER                            T   J                                                        N    U   T                                AMOUNT
                                                        O                                                            G    I   E                             ENTITLED TO
             (See instructions.)                        R   C                                                        E    D   D
                                                                                                                     N    A
                                                                                                                                                               PRIORITY
                                                                                                                     T    T
Account No.                                                     2008-2009 Personal Property Taxes                         E
                                                                Disputed                                                  D

County of Isle White
Treasurer's Office                                                                                                                                   0.00
PO Box 79
                                                            -                                                                 X
Isle of Wight, VA 23397

                                                                                                                                         1,600.00              1,600.00
Account No.




Account No.




Account No.




Account No.




       1
Sheet _____    1
            of _____  continuation sheets attached to                                                             Subtotal                           0.00
Schedule of Creditors Holding Unsecured Priority Claims                                                  (Total of this page)            1,600.00              1,600.00
                                                                                                                     Total                           0.00
                                                                                           (Report on Summary of Schedules)              1,600.00              1,600.00

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                                                          United States Bankruptcy Court
                                                                  Eastern District of Virginia
 In re     Matthew Paul Ricciardi                                                                    Case No.   12-73667
                                                                              Debtor(s)              Chapter    7


                                                   AMENDMENT COVER SHEET
Amendment(s) to the following petition, list(s), schedule(s) or statement(s) are transmitted herewith:
                Involuntary/Voluntary Petition [Specify reason for amendment:            ]
                Check if applicable: Soc. Sec. No. amended. [If applicable: An original, signed Official Form 21 was
                marked/hand-delivered to the Clerk's office on              .*]
                Summary of Schedules (Includes Statistical Summary of Certain Liabilities and Related Data)
                Schedule A - Real Property
                Schedule B - Personal Property
                Schedule C - Property Claimed as Exempt
                Schedule D, E, or F, and/or list of Creditors or Equity Holders - REQUIRES COMPLIANCE WITH LOCAL
                RULE 1009-1 ($30.00 fee required if adding or deleting pre-petition creditors, changing amounts owed or
                classification of debt.) Check applicable statement(s):
                        Creditor(s) added                            Creditor(s) deleted
                        Change in amounts owed or classification of debt
                        No pre-petition creditors added/deleted, or amounts owed or classification of debt changed. [Docket:
                        Amended Schedule(s) and/or Statement(s), List(s)-NO FEE)
                        Post-petition creditors added (Schedule of Unpaid Debts)
                REMINDER: Conversion of Chapter 13 to Chapter 7 - only file Schedule of Unpaid Debts.
                Schedule G- Executory Contracts and Unexpired Leases
                Schedule H - Codebtors
                Schedule I - Current Income of Individual Debtor(s)
                Schedule J - Current Expenditures of Individual Debtor(s)

[NOTE: The form "NOTICE TO CREDITOR(S) (RE AMENDMENT)" is still required when adding or deleting creditors.
*Amendment of debtor(s) Social Security Number requires that a hard copy of this cover sheet together with a completed
Official Form 21 - Statement of Social Security Number(s) be submitted to the Clerk's Office for entry of the amended Social
Security Number into the Court's database. ]
              Statement of Financial Affairs
              Chapter 7 Individual Debtor’s Statement of Intention
              Chapter 11 List of Equity Security Holders
              Chapter 11 List of Creditors Holding 20 Largest Unsecured Claims
              Disclosure of Compensation of Attorney for Debtor
              Other:
                                   NOTICE OF AMENDMENT(S) TO AFFECTED PARTIES
Pursuant to Federal Rule of Bankruptcy Procedure 1009(a) and Local Rule 1009-1, I certify that notice of the filing of the
amendment(s) checked above has been given this date to the United States Trustee, the trustee in this case, and to any and all entities
affected by the amendment as follows:        .
 Date: 10/18/12
                                                       /s/ Steve C. Taylor
                                                       Attorney for Debtor(s) [or Pro Se Debtor(s)]
                                                      State Bar No.: 31174
                                                      Mailing Address: Law Office of Steve C. Taylor, P.C.
                                                                                   133 Mount Pleasant Road
                                                                                   Chesapeake, VA 23322
                                                     Telephone No.:                (757) 482-5705
I, Matthew Paul Ricciardi certify under penalty of perjury that the amended forms herein are accurate and true to the best of my
knowledge and belief.
 Date: 10/18/12                             /s/ Matthew Ricciardi




[amendcs ver. 11/11]

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                                                          United States Bankruptcy Court
                                                                  Eastern District of Virginia
 In re     Matthew Paul Ricciardi                                                                          Case No.   12-73667
                                                                                   Debtor(s)               Chapter    7

                                               AMENDED
                        DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

           I certify under penalty of perjury that the foregoing is true and correct.


Date October 18, 2012                                                  Signature   /s/ Matthew Paul Ricciardi
                                                                                   Matthew Paul Ricciardi
                                                                                   Debtor
Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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